Case 24-40158-NGH          Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55    Desc Main
                                     Document      Page 1 of 36



 Matthew T. Christensen, ISB: 7213
 J. Justin May, ISB: 5818
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 Attorneys for the Debtors

 Krystal Mikkilineni, pro hac vice
 Robert E. Richards, pro hac vice
 Tirzah Roussell, pro hac vice
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        tirzah.roussell@dentons.com

 Former Attorneys for the Debtors



                             UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO


 In re:                                           Case No. 24-40158-NGH
 MILLENKAMP CATTLE, INC.,

                 Debtor.

 Filing relates to:
                                                  Jointly Administered With
 ☒ ALL DEBTORS                                    Case Nos.:

 ☐ Millenkamp Cattle, Inc.                        24-40159-NGH (Idaho Jersey Girls)
                                                  24-40160-NGH (East Valley Cattle)
 ☐ Idaho Jersey Girls                             24-40161-NGH (Millenkamp Properties)
                                                  24-40162-NGH (Millenkamp Properties II)
 ☐ East Valley Cattle                             24-40163-NGH (Millenkamp Family)
                                                  24-40164-NGH (Goose Ranch)
#4471579
Case 24-40158-NGH         Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55              Desc Main
                                    Document      Page 2 of 36


 ☐ Millenkamp Properties                             24-40166-NGH (Black Pine Cattle)
                                                     24-40167-NGH (Millenkamp Enterprises)
 ☐ Millenkamp Properties II                          24-40165-NGH (Idaho Jersey Girls Jerome
                                                                    Dairy)
 ☐ Millenkamp Family

 ☐ Goose Ranch                                       Chapter 11 Cases

 ☐ Black Pine Cattle

 ☐ Millenkamp Enterprises

 ☐ Idaho Jersey Girls Jerome Dairy


 _____________________________________



      THIRD AND FINAL APPLICATION FOR ALLOWANCE AND PAYMENT OF
                            COMPENSATION

       Krystal Mikkilineni, of the firm Dentons Davis Brown (the “Applicant”), applies to the Court

for allowance of attorneys’ fees and costs pursuant to 11 U.S.C. § 330. Applicant respectfully states

and represents to the Court that:

       1.      Applicant was counsel for Millenkamp Cattle, Inc. (together with its affiliated entities,

the “Debtors” or “Millenkamp Cattle”), the above-named Debtors in Possession, from the Petition

Date through February 15, 2025. Applicant makes this application seeking (a) final approval of the

fees and expenses awarded by this Court to Applicant on an interim basis on account of the First

Interim Fee Application and Second Interim Fee Application; and (b) final approval of compensation

for the period beginning December 1, 2024 through February 15, 2025 (the “Third Interim Period”)

(collectively referred to herein as the “Final Fee Application”).

       2.      All services for which compensation is requested by the Applicant were performed

for and on behalf of said Debtors, and not on behalf of any committee, creditor, or other person. Each

attorney involved in the services for which compensation is requested are specifically identified on

the attached Exhibit A and incorporated herein by reference.
Case 24-40158-NGH           Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55          Desc Main
                                      Document      Page 3 of 36


 3.      Payment of the attorneys’ fees and costs and the payment of these fees and costs should

        be made pursuant to the Engagement Letter attached to the Application to Employ Counsel

as Exhibit A (Dkt. No. 5).

       4.      Applicant, or other members of Dentons, has rendered services to the Debtors in the

manner described on the attached Exhibit B, which is by this reference made a part hereof.

       5.      Further, the Applicant sustained, and incurred expenses and/or costs described and

itemized in the statement attached hereto as Exhibit B, in connection with applicant’s function and

activities as attorney for the Debtors. A narrative summary of professionals’ fees and expenses is

attached hereto as Exhibit C.

       6.      The fees requested by this Application shall not be shared with any other party outside

the Applicant’s law firm.

       7.      The Applicant does not currently hold funds in a client trust account for the Debtors

with which to pay the fees requested. The outstanding fees and costs allowed will be paid by the

Debtors from operations. The Debtors will make payment of the Applicant’s outstanding fees and

costs as permitted under the approved cash collateral budget (Dkt. No. 815).

       8.      The rate of compensation of the attorneys was detailed in the Engagement Letter

attached to the Application to Employ Counsel as Exhibit A, which application was approved by

Court order on May 24, 2024 (Dkt. No. 323). In conformity with that rate (which is subject to

adjustment annually), the reasonable value of the services rendered by the Applicant as attorney for

the Debtors in this case, including costs/expenses and disbursements incurred, since December 1,

2024 is $122,807.58. Of that amount, there remains $78,078.30 in unpaid amounts (representing the

25% held back from the December Cover Sheet applications and 100% of the amount owing for the

January Cover Sheet application and for February).
Case 24-40158-NGH         Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55             Desc Main
                                    Document      Page 4 of 36

       9.       On August 8, 2024, Applicant filed an Application for Interim Compensation from

April 2, 2024 to July 31, 2024 (the “First Interim Period”) in the sum of $320,957.70 for time and

services rendered on the Debtors’ behalf during this First Interim Period as part of the expenses of

the representation of the Debtors in the above-named bankruptcy case (Dkt No. 548). On September

18, 2024, the court entered an order approving the First Interim Fee Application (Dkt No. 617).

       10.      On December 3, 2024, Applicant filed an Application for Interim Compensation from

August 1, 2024 to November 30, 2024 (the “Second Interim Period”) in the sum of $154,837.74 for

time and services rendered on the Debtors’ behalf during the Second Interim Period as part of the

expenses of the representation of the Debtors in the above-named bankruptcy case (Dkt No. 761).

On January 14, 2025, the Court entered an order approving the fees requested during the Second

Interim Period (Dkt No. 857).


       11.      The Applicant has incurred and the Debtors have paid the following fees and expenses

incurred during the Third Interim Period.

                                      December         January 2025       February 2025
                                      2024
             Fees Incurred            $45,095.00       $30,700.50         $25,066.00
             Total Fees Paid Pursuant $33,821.25       $23,025.38 (Not    $0
             to Order Establishing                     yet    paid   –
             Interim Procedures (75%                   pending
             of Fees)                                  objection
                                                       period)
             Total Expenses Incurred $10,908.03        $12.50 (Not yet    $11,025.55
             & Paid Pursuant to Order                  paid – pending     (Not yet paid)
             Establishing     Interim                  objection
             Procedures (100% of                       period)
             Expenses)


        12.     The Applicant does not currently hold any amount in trust. The fees and expenses

paid during this Third Interim Period were paid from the Debtors’ ongoing operations.
Case 24-40158-NGH              Doc 933      Filed 02/28/25 Entered 02/28/25 13:11:55                       Desc Main
                                          Document      Page 5 of 36

           13.       The Applicant requests final Court approval of the total fees incurred and paid for the

    First Interim Period totaling $299,342.50 and final approval of the total expenses incurred and paid

for the First Interim Period totaling $21,615.20.

           14.       The Applicant further requests final Court approval of the total fees incurred and paid

    for the Second Interim Period totaling $145,314.00 and final approval of the total expenses incurred

and paid for the Second Interim Period totaling $9,523.74.


          15.      The Applicant further requests interim and final Court approval of the following fees

and expenses incurred during the Third Interim Period:

                a. Final approval of $33,821.25 in fees paid for December 2024;

                b. Final approval of $10,908.03 in expenses paid for December 2024;

                c. Final approval and payment of $11,273.75 in fees outstanding from December 2024;

                d. Final approval of $23,025.38 in fees paid for January 2025 1;

                e. Final approval of $12.50 in expenses paid for January 2025 2;

                f. Final approval and payment of $7,675.12 in fees outstanding from January 2025

                   (assuming no objections to the January Cover Sheet Application and payment of the

                   75% in fees);

                g. Final approval and payment of $25,066.00 in fees incurred and not yet paid for

                   February 2025; and

                h. Final approval and payment of $11,025.55 in expenses incurred and not yet paid for

                   February 2025.




1
  The bar date for the January Cover Sheet Application has not yet passed. If no objections are filed by February 27,
2025, this amount will be paid by the Debtors pursuant to the interim fee procedures.
2
  The bar date for the January Cover Sheet Application has not yet passed. If no objections are filed by February 27,
2025, this amount will be paid by the Debtors pursuant to the interim fee procedures.
Case 24-40158-NGH          Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55           Desc Main
                                     Document      Page 6 of 36


       16.      The Debtors have reviewed this application and approved the Application and

amounts requested.

       WHEREFORE, the Applicant prays that the Court:

       (a) grant final approval of the total fees incurred during the First, Second, and Third Interim

             Periods, totaling $545,518.00;

       (b) grant final approval of the total expenses incurred during the First, Second, and Third

             Interim Periods, totaling $53,085.02; and

       (c) allow payment of the outstanding fees and expenses to be paid from the Debtors in the

             amount of $55,040.42.

        DATED this 27th day of February, 2025
                                                         DENTONS DAVIS BROWN


                                                         /s/ Krystal Mikkilineni
                                                         KRYSTAL MIKKILINENI
                                                         Former Attorney for Debtors


                                                         /s/ Matthew T. Christensen
                                                         MATTHEW T. CHRISTENSEN
                                                         Attorney for Debtors
Case 24-40158-NGH         Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55             Desc Main
                                    Document      Page 7 of 36


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of February, 2025, I caused to be served a true
 and correct copy of the foregoing NOTICE OF DENTONS DAVIS BROWN’S APPLICATION
 FOR INTERIM FEES electronically through the CM/ECF system, which caused the following
 parties to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

        Matthew T. Christensen                 mtc@johnsonmaylaw.com
        US Trustee                             ustp.region18.bs.ecf@usdoj.gov
        Aaron R. Bell                          abell@evanskeane.com
        Morton R. Branzburg                    mbranzburg@klehr.com
        Heidi B. Morrison                      heidi@racineolson.com
        Laura E. Burri                         lburri@morrowfischer.com
        Brett R. Cahoon                        ustp.region18.bs.ecf@usdoj.gov
        William K. Carter                      kentcarter@grsm.com
        D. Blair Clark                         dbc@dbclarklaw.com
        David A. Coleman                       david@colemanjacobsonlaw.com
        Connor B. Edlund                       edlund@mwsslawyers.com
        Gery W. Edson                          gedson@gedson.com
        Jon B. Evans                           evans.jb@dorsey.com
        Zachary Fairlie                        zfairlie@spencerfane.com
        Brian Faria                            brian@sawtoothlaw.com
        Kimbell D. Gourley                     kgourley@idalaw.com
        Daniel C. Green                        dan@racineolson.com
        Matthew W. Grimshaw                    matt@grimshawlawgroup.com
        John F. Kurtz                          jfk@kurtzlawllc.com
        Adam A. Lewis                          alewis@mofo.com
        Karyn Lloyd                            klloyd@grsm.com
        Jed W. Manwaring                       jmanwaring@evanskeane.com
        J. Justin May                          jjm@johnsonmaylaw.com
        Krystal R. Mikkilineni                 krystal.mikkilineni@dentons.com
        Rhett M. Miller                        rmiller@magicvalley.law
        John D. Munding                        john@mundinglaw.com
        Jason R. Naess                         jason.r.naess@usdoj.gov
        James Niemeier                         jniemeier@mcgrathnorth.com
        John O’Brien                           jobrien@spencerfane.com
        Scott C. Powers                        spowers@spencerfane.com
        Cheryl Rambo                           cheryl.rambo@isp.idaho.gov
        Janine P. Reynard                      janine@averylaw.net
        Robert E. Richards                     robert.richards@dentons.com
        Holly Roark                            holly@roarklawboise.com
        Evan T. Roth                           evan@sawtoothlaw.com
        Tirzah R. Roussell                     tirzah.roussell@dentons.com
        Miranda K. Russell                     mrussell@mofo.com
Case 24-40158-NGH        Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55       Desc Main
                                   Document      Page 8 of 36


        Andrew J. Schoulder                 andrew.schoulder@nortonrosefulbright.com
        Sheila R. Schwager                  sschwager@hawleytroxell.com
        Louis V. Spiker                     louis.spiker@millernash.com
        Matthew A. Sturzen                  matt@shermlaw.com
        Meredith L. Thielbahr               mthielbahr@grsm.com
        Kim J. Trout                        ktrout@trout-law.com
        Brent R. Wilson                     bwilson@hawleytroxell.com

        Any others as listed on the Court’s ECF Notice.

         I FURTHER CERTIFY that on this such date I caused my staff to serve the foregoing on
 the following non-CM/ECF Registered Participants via US Mail, Postage Paid:
         Ron C. Bingham                          Richard Bernard
         3424 Peachtree Road NE                  1177 Avenue of the Americas
         Suite 1600                              41st Floor
         Atlanta, GA 30326                       New York, NY 10036

         Bunge Canada                            Nikolaus F. Schandlbauer
         c/o David D. Farrell, Esq.              20 F Street NW
         One US Bank Plaza                       Suite 500
         Suite 2700                              Washington, DC 20001
         St. Louis, MO 63101


         W. Kent Carter                          Scott F. Gautier
         One North Franklin                      1800 Century Park East
         Suite 800                               Ste. 1500
         Chicago, IL 60606                       Los Angeles, CA 90067

         Zachery J. McCraney                     Domenic E. Pacitti
         Holland & Hart                          Klehr Harrison Harvey Branzburg, LLP
         PO Box 2527                             919 Market St
         800 W. Main St., Suite 1750             Suite 1000
         Boise, ID 83701                         Wilmington, DE 19801

         Michael R. Stewart                      J.D. Heiskell Holding, LLC
         2200 Wells Fargo Center                 c/o Tyler (Tab) Berger
         90 South Seventh Street                 17220 Wright St., Suite 200
         Minneapolis, MN 55402                   Omaha, NE 68130
Case 24-40158-NGH     Doc 933     Filed 02/28/25 Entered 02/28/25 13:11:55   Desc Main
                                Document      Page 9 of 36




     Wilbur Ellis Nutrition-Rangen           Bunge Canada
     c/o Tony Champion                       c/o Greg Zemaitis
     PO Box 706                              1391 Timberlake Manor Parkway
     115 13th Ave. South                     Chesterfield, MO 63017
     Buhl, ID 83316

     Viterra USA Grain, LLC                  Land View, Inc.
     Viterra USA Ingredients,                c/o Dan Noble
     LLC c/o Alicia Burns                    PO Box 475
     1331 Capitol Ave.                       Rupert, ID 83350
     Omaha, NE 68102



                                               /s/ Krystal Mikkilineni

                                               Krystal Mikkilineni
Case 24-40158-NGH   Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55   Desc Main
                           Document    Page 10 of 36




                        EXHIBIT A
Case 24-40158-NGH        Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55              Desc Main
                                Document    Page 11 of 36



                                      SUMMARY SHEET

 Fees Previously Requested*:                        NAME OF APPLICANT:
        $444,656.50                                 Krystal Mikkilineni
 Fees Previously Awarded:
        $444,656.50                                 ROLE IN CASE: Attorney for Debtors
 Expenses Previously Requested:
        $31,138.94                                  CURRENT APPLICATION:
 Expenses Previously Awarded:
        $31,138.94                                  Fees Requested:      $100,861.50
                                                    Expenses Requested: $21,946.08
                                                    Total Requested:     $122,807.58
                                                    Fees and Expenses Outstanding Requested
                                                    to be Paid: $55,040.42



                                          Hours Billed
             Name of               Years in      Current          Hourly           Total for
           Professional            Practice     Application        Rate           Application
  Krystal Mikkilineni - 2024       11 years          51           $415.00         $21,165.00
  Krystal Mikkilineni – ½ rate
                                                     8.5          $207.50          $1,763.75
  for travel
  Krystal Mikkilineni – 2025                         64.7         $460.00         $29,762.00
  Tirzah Roussell - 2024           5 years           72.2         $285.00         $20,577.00
  Tirzah Roussell – ½ rate for
                                                     8.5          $142.50          $1,211.25
  travel
  Tirzah Roussell – 2025                             78.6         $315.00         $24,759.00
  Robert Richards                 36 Years                        $425.00              $0
  Gabby Mathias – 2024            Paralegal          1.8          $210.00           $378.00
  Gabby Mathias – 2025                               5.3          $235.00          $1,245.50




 *      The fees/expenses previously requested, as outlined above, do not include amounts
 requested in monthly Cover Sheet Applications. To date, the Applicant has filed two (2)
 monthly cover sheet applications showing $75,795.50 in fees requested and $10,920.53 in
 expenses requested. No objections to those Cover Sheet Applications were filed (the bar date for
 the January Cover Sheet Application has not yet passed), and pursuant to the Court’s Order
 Approving Interim Fee Procedures, 75% of the fees requested and 100% of the expenses
 requested have been previously paid by the Debtors (except the January and February fees and
 expenses. January fees and expenses will be paid if no objections are filed by February 27,
 2025).
Case 24-40158-NGH   Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55   Desc Main
                           Document    Page 12 of 36




                        EXHIBIT B
        Case 24-40158-NGH             Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                       Desc Main
                                             Document    Page 13 of 36


                                                        In Account With



                                            DENTONS DAVIS BROWN PC
                                              Attorneys and Counselors at Law
                                                 215 10th Street, Suite 1300
                                                 Des Moines, IA 50309-3993
                                                       (515) 288-2500
                                                 Federal I.D. No. XX-XXXXXXX


          Millenkamp Cattle, Inc.                                                                     Statement:
          Bill Millenkamp                                                                                  Date: 1/7/2025
          471 N 300th Rd W
          Jerome, Idaho 83338



Re:               - Ch 11 Bankruptcy

Professional Fees                                                                           Code Hours    Amount
12/02/2024 KMIK   Call with client, Kander, and co-counsel regarding status update,         B110   0.70    290.50
                  plan, and motion to appoint trustee (.5); emails to/from David Heida
                  regarding amended schedule (.2)
12/02/2024 KMIK   Review MetLife's witness list and exhibit list (.2)                       B190   0.20     83.00


12/02/2024 KMIK   Review email from Sheila Schwager regarding Rabo reconciled               B310   0.10     41.50
                  claim (.1)
12/02/2024 KMIK   Call with MetLife counsel and co-counsel regarding status update,         B150   0.50    207.50
                  plan, and motion to appoint trustee (.5)
12/02/2024 KMIK   Review and revise November invoice (.5)                                   B160   0.50    207.50


12/02/2024 KMIK   Email client regarding language for Western States claim (.1)             B320   0.10     41.50


12/02/2024 TROU   Call with client, Kander, and co-counsel regarding status update,         B110   0.50    142.50
                  plan strategy, and motion to appoint trustee and Rabo's friday filings
                  (.5)
12/02/2024 KMIK   Review O'Melveny's October fee app (.1)                                   B160   0.10     41.50


12/03/2024 GMAT   Drafting November fee app (.4); drafting Interim Fee App August-          B160   1.50    315.00
                  November (1); email to Tirzah regarding fee apps (.1)
12/03/2024 TROU   Call with client, Kander and co-counsel regarding prep for hearing        B110   0.50    142.50
                  and trustee motion, etc (.5)
12/03/2024 KMIK   Draft Kander September fee app and notice (.6)                            B160   0.60    249.00


12/03/2024 KMIK   Review Conterra's notice of intent to present evidence (.1)               B190   0.10     41.50


12/03/2024 KMIK   Prep equity cushion exhibits for hearing on cash collateral (.8);         B190   1.10    456.50
                  review exhibit list (.1); call with Matt Christensen regarding exhibits
                  for hearing (.2)
12/03/2024 TROU   Review Conterra's notice of intent to present evidence (.1); review       B190   0.60    171.00
                  rabo's motion to appoint chapter 11 trustee (.5)
         Case 24-40158-NGH               Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                       Desc Main
Millenkamp Cattle, Inc.                                                                                         Client:
                                                Document    Page 14 of 36
1/7/2025                                                                                                Matter:
Page: 2                                                                                                     Statement:




12/03/2024 TROU     Review and revise Dentons' Interim Fee App (1.2); Review and revise        B160   1.60    456.00
                    notice regarding same (.2); Email Gabby regarding sending fee app
                    to mailing company (.1); Emails with client regarding approval of
                    Dentons Interim Fee App (.1)
12/03/2024 TROU     Research and draft Memo regarding appointment of chapter 11                B190   3.60   1,026.00
                    Trustee and determine which exhibits are needed for trial (3.2);
                    determine exhibits needed for exclusvity and cash collateral hearings
                    (.4)
12/03/2024 TROU     Call with committee counsel, financial advisors, Kander, and co-           B150   0.50    142.50
                    counsel regarding status and hearing updates (.5)
12/04/2024 KMIK     Call with client, Kander, and co-counsel regarding status update,          B110   0.70    290.50
                    plan, and objection to trustee motion (.4); review and revise letter to
                    Millenkamp Cattle regarding fiduciary duties (.3)
12/04/2024 TROU     Call with client, Kander, and co-counsel regarding status update,          B110   0.40    114.00
                    prep for hearing, objection to trustee motion (.4)
12/04/2024 KMIK     Emails to/from Lisa Nelson regarding Conterra December adequate            B140   0.20     83.00
                    protection payment (.2)

12/04/2024 KMIK     Continue drafting amended plan and amended disclosure statement            B320   2.00    830.00


12/04/2024 KMIK     Review Rabo's motion to appoint trustee                                    B190   0.70    290.50


12/04/2024 TROU     Emails with Penske's counsel regarding Penske's plan treatment             B320   2.00    570.00
                    (.3); revise and finalize amended plan and amended disclosure
                    statement (1.5); emails with Bill and Lisa regarding review and
                    executing amended plan and disclosure statement for filing (.2)
12/04/2024 TROU     Review Rabo's witness and exhibit list (.3); start research and draft of   B190   1.60    456.00
                    Motion in Limine (1.3)
12/04/2024 TROU     Draft letter to Bill regarding fiduciary duties (1.2)                      B110   1.20    342.00


12/05/2024 KMIK     Call with client, Kander, and co-counsel regarding status update,          B110   0.80    332.00
                    plan, and hearing (.4); call with Matt Christensen regarding hearing
                    prep (.3); review email from clerks' office regarding hearing dates for
                    disclosure statement (.1)
12/05/2024 TROU     Call with client, Kander, and co-counsel regarding status update,          B110   0.40    114.00
                    plan, and hearing prep (.4)

12/05/2024 KMIK     Call with Sandton's counsel and co-counsel regarding hearing (.5)          B150   0.50    207.50


12/05/2024 KMIK     Review and revise notice of disclosure statement hearing (.2)              B320   0.20     83.00


12/05/2024 KMIK     Prep for hearing (.2); review subpoena issued to Bill to testify at        B190   0.30    124.50
                    hearing (.1)

12/05/2024 TROU     research regarding appointment of chapter 11 trustee (1.5)                 B190   1.50    427.50
         Case 24-40158-NGH               Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                    Desc Main
Millenkamp Cattle, Inc.                                                                                      Client:
                                                Document    Page 15 of 36
1/7/2025                                                                                             Matter:
Page: 3                                                                                                  Statement:




12/05/2024 TROU     Email from Jessica B regarding word version of plan and disclosure      B320   1.30    370.50
                    statement (.1); Reivew notice of hearing for amended disclosure
                    statement (.2); finalize amended disclosure statement and exhibits
                    thereto (.5); emails with Lisa Nelson regarding amended plan and
                    disclosure statement (.2); call with Lisa regarding same (.1); emails
                    with Gabby regarding filing amended plan and disclosure statement
                    (.2)
12/05/2024 TROU     Research and draft Motion in Limine (3.4)                               B190   3.40    969.00


12/06/2024 KMIK     Review and revise motion in limine (.8)                                 B190   0.80    332.00


12/06/2024 KMIK     Call with client, Kander, and co-counsel regarding liquidation          B110   0.50    207.50
                    analysis, plan, and hearing strategy (.3); review email from David
                    Heida regarding Sandton term sheet (.1); review email from Ken
                    Nofziger regarding liquidation analysis (.1)
12/06/2024 KMIK     Review and revise memo regarding fiduciary duties (.2) and email        B110   0.30    124.50
                    client regarding same (.1)
12/06/2024 KMIK     Review Rabo's exhibit list (.2)                                         B190   0.20     83.00


12/06/2024 KMIK     Continue review of Rabo's motion to appoint trustee (.6); review        B190   0.90    373.50
                    trustee's response to motion to appoint trustee (.1); review and
                    revise objection to motion to appoint trustee (.2)
12/06/2024 TROU     Review email from David Heida regarding Sandton term sheet (.1);        B110   0.50    142.50
                    call with client, Kander, and co-counsel regarding liquidation
                    analysis and hearing strategy (.3); review email from Ken regarding
                    liquidation analysis (.1)
12/06/2024 TROU     Review Rabo's exhibit list (.2)                                         B190   0.20     57.00


12/06/2024 TROU     Review Rabo's Motion to Appoint Chapter 11 Trustee (.4); Review         B190   4.70   1,339.50
                    Trustee's Motion regarding appointment of chapter 11 trustee (.2);
                    research regarding appointment of chapter 11 trustee and draft
                    objection to motion to appoint trustee (4.1)
12/06/2024 TROU     Prep for cash collateral. appointment of trustee, and exclusivity       B190   1.80    513.00
                    hearing (1.8)

12/07/2024 KMIK     Continue reviewing and revising objection to trustee motion (1.3);      B190   1.40    581.00
                    review Rabo's amended exhibit list (.1)
12/07/2024 KMIK     Prep for cash collateral hearing (.5)                                   B230   0.50    207.50


12/08/2024 KMIK     Continue prepping for cash collateral and exclusivity hearing           B230   2.60   1,079.00


12/08/2024 KMIK     Review email from Sheila Schwager regarding exhibits                    B190   0.10     41.50


12/08/2024 KMIK     Travel to Boise for hearing (billed at 1/2 rate)                        B195   6.00   1,245.00


12/08/2024 TROU     Travel to Boise for cash collateral, exclusivity, and trustee motion    B195   6.00    855.00
                    hearing (billed at 1/2 rate)
12/08/2024 TROU     Prepping for cash collateral, exclusivity and trustee motion hearing    B230   3.50    997.50
                    (3.5)
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                      Desc Main
Millenkamp Cattle, Inc.                                                                                       Client:
                                               Document    Page 16 of 36
1/7/2025                                                                                              Matter:
Page: 4                                                                                                   Statement:




12/09/2024 GMAT     Drafting cover sheet for Disclosure Statement filing                    B320    0.10     21.00


12/09/2024 KMIK     Continue prepping for cash collateral and exclusivity hearing and       B190   10.80   4,482.00
                    prep for trustee motion hearing
12/09/2024 TROU     Continue prepping for cash collateral and exclusivity hearing and       B190   10.80   3,078.00
                    trustee motion hearing (10.8)

12/09/2024 TROU     Drafting CRO Motion (1.5)                                               B160    1.50    427.50


12/10/2024 KMIK     Continue prepping for hearing (2); appear at hearing (7)                B190    9.00   3,735.00


12/10/2024 TROU     Continue prepping for hearing (2); appear at hearing (7)                B190    9.00   2,565.00


12/10/2024 TROU     Finalize and file CRO Motion (.6)                                       B190    0.60    171.00


12/11/2024 KMIK     Prep for hearing (1); negotiations with parties and client regarding    B190    3.00   1,245.00
                    plan (.5); appear at hearing (1.5)

12/11/2024 KMIK     Travel from hearing (2.5) (billed at 1/2 rate)                          B195    2.50    518.75


12/11/2024 TROU     Prep for hearing (1); negotiations with parties and client regarding    B190    3.00    855.00
                    plan (.5); appear at hearing (1.5)
12/11/2024 TROU     Travel from hearing (2.5) (billed at 1/2 rate)                          B195    2.50    356.25


12/12/2024 KMIK     Review Rabo's reservation of rights regarding interim fee               B160    0.10     41.50
                    distributions (.1)
12/12/2024 KMIK     Appear at oral ruling on trustee motion, cash collateral motion, and    B190    0.70    290.50
                    exclusivity motion (.5); recap of call with client (.2)

12/12/2024 KMIK     Call with Kati Churchill and Rob Marcus regarding CRO hearing (.1)      B110    0.10     41.50


12/12/2024 TROU     Review Rabo's reservation of rights regarding interim fee               B160    0.10     28.50
                    distributions (.1)

12/12/2024 TROU     Appear at oral ruling on cash collateral motion, exclusivity motion,    B190    0.50    142.50
                    and trustee motion (.5)
12/12/2024 TROU     Email David and Lisa dial in information (.1)                           B110    0.10     28.50


12/13/2024 KMIK     Emails to/from Lisa Nelson regarding property taxes (.2); review        B110    0.60    249.00
                    email from Matt Kremer regarding meeting with CRO applicant (.1)
                    and email Ken and Kati regarding same (.1); email Rob regarding
                    meeting with committee (.1); review notice of hearing held (.1)
12/13/2024 KMIK     Review email from Sheila Schwager regarding proposed order on           B190    0.20     83.00
                    exclusivity motion (.1) and review of proposed order (.1)
12/16/2024 KMIK     Emails to/from Matt Kremer regarding call with proposed CRO and         B150    0.20     83.00
                    CRO hearing (.2)
12/16/2024 TROU     Review corrective entry regarding CRO app and review app (.2);          B160    0.70    199.50
                    Emails with Matt C regarding same (.1); attention to Givens Pursely's
                    app for compensation (.2); emails with Cooper Norman regarding
                    fee apps (.2)
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                       Desc Main
Millenkamp Cattle, Inc.                                                                                       Client:
                                               Document    Page 17 of 36
1/7/2025                                                                                               Matter:
Page: 5                                                                                                    Statement:




12/16/2024 TROU     Emails from Committee Counsel regarding CRO call and moving               B110   0.20     57.00
                    weekly call tomorrow (.2)
12/16/2024 TROU     Attention to email from John O'brien regarding cash collateral order      B230   0.10     28.50
                    (.1)
12/16/2024 TROU     Attention to email from Gabriel Olivera regarding committe call with      B110   0.10     28.50
                    CRO (.1)
12/17/2024 KMIK     Review Rabo's motion to consider shortened notice time for                B320   0.30    124.50
                    disclosure statement (.2) and review notice of hearing regarding
                    same (.1)
12/17/2024 KMIK     Review and revise notice of hearing on CRO application to employ          B160   0.10     41.50
                    (.1)
12/17/2024 KMIK     Call with committee counsel, committee, committee FA, Kander, Rob         B150   0.80    332.00
                    Marcus, and co-counsel regarding CRO application
12/17/2024 TROU     Review Rabo's motion to consider shortened notice time for                B320   0.30     85.50
                    disclosure statement (.2) and review notice of hearing regarding
                    same (.1)
12/17/2024 TROU     Emails with Lisa Nelson regarding GreatAmerica (.3)                       B300   0.30     85.50


12/17/2024 TROU     Draft Notice of Hearing for CRO Motion (.4); Emails to client and co-     B160   0.80    228.00
                    counsel regarding same (.2); Revise and finalize Notice (.2)
12/17/2024 TROU     Review proposed order denying trustee motion (.2); review order           B110   0.30     85.50
                    denying exclusive period (.1)
12/17/2024 TROU     Review proposed order granting cash collateral (.2)                       B230   0.20     57.00


12/17/2024 TROU     Call with Committee counsel and FA's regarding status update, CRO         B150   0.30     85.50
                    call, and plan updates (.3)
12/18/2024 KMIK     Review emails from parties regarding cash collateral order (.2)           B230   0.20     83.00


12/18/2024 KMIK     Emails to/from Matt Kremer regarding scheduling call with                 B150   0.20     83.00
                    committee counsel and FAs (.2)
12/18/2024 KMIK     Review order granting Givens Pursley's interim fee app (.1); review       B160   0.30    124.50
                    Givens Pursley's November fee app (.1); review Bruce Anderson's
                    interim fee app (.1)
12/18/2024 KMIK     Review email from Rob Marcus regarding follow up from call with Bill      B110   0.50    207.50
                    (.1); call with client, Kander, and co-counsel regarding status update,
                    Rabo's motion to consider, and plan strategy (.3); review email from
                    Rich Bernard regarding transcripts (.1)
12/18/2024 TROU     Review emails from several parties regarding cash collateral order        B230   0.20     57.00
                    (.2)
12/18/2024 TROU     Attention to order granting equipment motion (.2); Reivew list of         B110   1.60    456.00
                    equiment and vehicles for November and draft Notice of Monthly
                    report of purchase/sales of equipment (1); email Notice to co-
                    counsel (.1); revise Notice (.2); Emails with client regarding Notice
                    (.2)
12/18/2024 TROU     Revise Certificate of Service for Notice of Hearing on CRO App (.3);      B160   0.40    114.00
                    emails with Erin C regarding same (.1)
12/18/2024 TROU     Call with client, Kander, and co-counsel regarding Rabo's motion to       B110   0.30     85.50
                    consider, status update, and plan strategy (.3)
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                     Desc Main
Millenkamp Cattle, Inc.                                                                                     Client:
                                               Document    Page 18 of 36
1/7/2025                                                                                             Matter:
Page: 6                                                                                                  Statement:




12/18/2024 TROU     Analyze Rabo's Motion to Set Disclosure Statement and Plan Bar          B320   0.90    256.50
                    Date (.4); Research regarding disclosure statement notice period
                    (.5)
12/19/2024 KMIK     Emails to/from Sheila regarding call to discuss plan (.2); call with    B150   0.40    166.00
                    Committee counsel regarding status update (.2)
12/19/2024 KMIK     Review and revise objection to Rabo's motion to establish time (.7)     B320   0.70    290.50


12/19/2024 KMIK     Review Elsaesser Anderson's November fee app (.1)                       B160   0.10     41.50


12/19/2024 KMIK     Review Conterra's competing plan (.3) and email to client and           B320   0.40    166.00
                    Kander regarding same (.1)

12/19/2024 TROU     Review order denying appointment of trustee (.2)                        B190   0.20     57.00


12/19/2024 TROU     Review Elsaesser Anderson's November fee app (.1)                       B160   0.10     28.50


12/19/2024 TROU     Reivew email from John O'brien regarding conterra's plan (.1); review   B320   0.50    142.50
                    conterra's plan (.4)
12/19/2024 TROU     Review order granting continued use of cash collateral (.2)             B230   0.20     57.00


12/19/2024 TROU     Review Rabo's Motion to Shorten Bar Date for Disclosure Statement       B320   3.20    912.00
                    and Plan filing (.4); Research regarding shortening bar date for
                    disclosure statement and disclosure statement hearing (1.8); Draft
                    Objection to Rabo's Motion to Shorten Time (1)
12/20/2024 KMIK     Emails to/from Brent Wilson regarding continuance of disclosure         B320   0.30    124.50
                    statement hearing (.2) and email client and Kander regarding same
                    (.1)
12/20/2024 KMIK     Review email from David Heida regarding Conterra's plan (.1)            B320   0.10     41.50


12/20/2024 KMIK     Call with client, Kander, and co-counsel regarding status update,       B110   0.40    166.00
                    disclosure statement hearing, plan strategy, and Forbes fee app (.4)
12/20/2024 KMIK     Review Armory's October fee app (.1)                                    B160   0.10     41.50


12/20/2024 KMIK     Review and revise stipulation and order regarding disclosure            B320   0.40    166.00
                    statement hearing (.2) and emails to/from Brent Wilson regarding
                    same (.2)
12/20/2024 KMIK     Call with Ron Bingham regarding plan (.3)                               B150   0.30    124.50


12/20/2024 TROU     Attention to emails regarding disclosure statement hearing from         B320   0.20     57.00
                    Kander and co-counsel and review prospective dates (.2)
12/20/2024 TROU     Review email from David Heida regarding Conterra's plan (.1)            B320   0.10     28.50


12/20/2024 TROU     Call with client, Kander, and co-counsel regarding status/plan          B110   0.40    114.00
                    strategy, disclosure statement hearing, and Forbes' fee app (.4)
12/20/2024 TROU     Emails with Cooper Norman regarding fee apps (.2); Drafting             B160   2.20    627.00
                    Cooper Norman Fee App for September (1); attention to Armory fee
                    app (.2); Review Forbes' fee app and appearance of counsel (.5);
                    Review Forbes engagement agreement (.3)
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                        Desc Main
Millenkamp Cattle, Inc.                                                                                        Client:
                                               Document    Page 19 of 36
1/7/2025                                                                                                Matter:
Page: 7                                                                                                     Statement:




12/20/2024 TROU     Review Stipulation regarding disclosure statement hearing (.2)             B320   0.20     57.00


12/21/2024 TROU     Attention to email from John Obrien regarding plan budget (.1)             B230   0.10     28.50


12/23/2024 TROU     Attend hearing regarding disclosure statement and stip between             B320   0.20     57.00
                    Rabo and Debtors (.2)
12/26/2024 KMIK     Review email from John O'Brien regarding meeting to discuss plan           B320   0.20     83.00
                    terms (.1) and email client and Kander regarding same (.1)
12/26/2024 KMIK     Call with David Heida regarding plan treatment (.2)                        B320   0.20     83.00


12/26/2024 KMIK     Emails to/from Lisa Nelson regarding Armory September fees (.2);           B160   0.50    207.50
                    review Forbes engagement agreement (.2) and email David Heida
                    regarding same (.1)
12/26/2024 KMIK     Review change of address for Bill Millenkamp (.1); emails to/from          B110   0.40    166.00
                    Ken Nofziger and Lisa Nelson regarding KANS LLC (.2); review
                    emails from Lisa Nelson and Ken Nofziger regarding accrued rent
                    and fees (.1)
12/26/2024 KMIK     Review Conterra's revised plan (.3)                                        B320   0.30    124.50


12/26/2024 TROU     Review email from John O'Brien regarding meeting to discuss plan           B320   0.50    142.50
                    terms (.1); attention to Conterr'a revised plan (.3); email John O'brien
                    word versions of amended plan and disclosure statement (.1)
12/26/2024 TROU     Attention to forbes fee app (.2); Review app to employ forbes and          B160   0.60    171.00
                    engagement agreement (.3); attention to emails from client and co-
                    counsel regarding same (.1)
12/28/2024 KMIK     Review email from David Heida regarding Conterra's plan and                B320   0.10     41.50
                    strategy (.1)
12/28/2024 KMIK     Email John O'Brien regarding meeting with Conterra (.1)                    B150   0.10     41.50


12/30/2024 GMAT     Drafting Interim Fee App order                                             B160   0.20     42.00


12/30/2024 KMIK     Review and revise proposed order for Dentons second interim fee            B160   0.60    249.00
                    app (.2) and email to/from UST regarding same (.2); review Armory's
                    November fee app (.1); review O'Melveny & Myer's November fee app
                    (.1)
12/30/2024 KMIK     Call with client, Kander, and co-counsel regarding status update,          B110   0.70    290.50
                    Conterra plan, secured lender discussions, and Forbes fee app (.7)
12/30/2024 KMIK     Emails to/from John O'Brien regarding CAFOs (.2) and email client          B150   0.40    166.00
                    regarding same (.1); email MetLife's counsel regarding status
                    update (.1)
12/30/2024 TROU     Call with client, Kander, and co-counsel regarding Conterra plan,          B110   0.70    199.50
                    secured lender discussions, and Forbes fee app (.7)
12/30/2024 TROU     Review Armory's November fee app (.1); review O'Melveny & Myer's           B160   0.30     85.50
                    November fee app (.1); Review Dentons order regarding second
                    interim fee app (.1)
12/30/2024 TROU     Attention to emails from John O'brien regarding CAFO (.1); review          B150   0.20     57.00
                    emails from David Heida regarding same (.1)
           Case 24-40158-NGH                        Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                                                   Desc Main
Millenkamp Cattle, Inc.                                                                                                                                Client:
                                                           Document    Page 20 of 36
1/7/2025                                                                                                                                   Matter:
Page: 8                                                                                                                                        Statement:




12/31/2024 KMIK           Call with Ron Bingham and Matt Christensen regarding status                                     B150         0.50         207.50
                          update, plan, and settlement discussions (.5)
12/31/2024 TROU           Attention to emails from John O'brien regarding call for plan                                   B150         0.20           57.00
                          discussions (.2)
                                                                                                             Sub-total Fees:                  $45,095.00

                                                             Rate Summary
Krystal R. Mikkilineni                                  8.50 hours at $207.50/hr                                                        1,763.75

Krystal R. Mikkilineni                                51.00 hours at $415.00/hr                                                       21,165.00
Tirzah R. Roussell                                      8.50 hours at $142.50/hr                                                        1,211.25

Tirzah R. Roussell                                    72.20 hours at $285.00/hr                                                       20,577.00
Gabby B. Mathias                                        1.80 hours at $210.00/hr                                                           378.00

                         Total hours:                142.00

Expenses                                                                                             Code            Units           Price        Amount
12/05/2024 Third Party Printing and Mailing Fees                                                     E108              1.00      2,122.82        2,122.82
12/06/2024 Third Party Printing and Mailing Fees                                                     E108              1.00      5,954.69        5,954.69
12/09/2024 Third Party Printing and Mailing Fees                                                     E108              1.00        318.68           318.68

12/20/2024 Flight/Hotel for Millenkamp Hearing                                                       E110              1.00      1,258.02        1,258.02
12/20/2024 Flight/Hotel for Millenkamp Hearing                                                       E110              1.00      1,253.82        1,253.82
                                                                                                  Sub-total Expenses:                         $10,908.03




                                                                                                             Total Current Billing:                         $56,003.03



                   Ef f ectiv e March 29, 2021, Dav is Brown Law Firm f ormally combined with Dentons to become Dentons Dav is Brown PC. Visit
         www.dentons.com/BusinessTerms to f ind our Terms of Business, which will apply to our relationship to the extent that it is not inconsistent with the
           material terms and conditions of any existing engagement agreement. Please contact y our lawy er or other prof essional if y ou hav e questions
                                                about the Terms of Business or with any respect of y our representation.

           Current statement due within 30 day s of statement date. Please disregard any prev iously paid amounts. Contact us at 515-246-7812 with any
                                                  questions. Please include the statement number on y our check.

            When y ou prov ide a check as pay ment, y ou authorize us either to use inf ormation f rom y our check to make a one-time electronic f und transf er
         f rom y our account or process the pay ment as a check transaction. When we use inf ormation f rom y our check to make an electronic f und transf er,
            f unds may be withdrawn f rom y our account as soon as the same day we receiv e y our pay ment, and y ou will not receiv e y our check back f rom
                                                                        y our f inancial institution.
        Case 24-40158-NGH             Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                        Desc Main
                                             Document    Page 21 of 36


                                                       In Account With



                                           DENTONS DAVIS BROWN PC
                                             Attorneys and Counselors at Law
                                                215 10th Street, Suite 1300
                                                Des Moines, IA 50309-3993
                                                      (515) 288-2500
                                                Federal I.D. No. XX-XXXXXXX


          Millenkamp Cattle, Inc.                                                                      Statement:
          Bill Millenkamp                                                                                   Date: 2/6/2025
          471 N 300th Rd W
          Jerome, Idaho 83338



Re:               - Ch 11 Bankruptcy

Professional Fees                                                                            Code Hours    Amount
01/02/2025 KMIK   Emails to/from John O'Brien regarding CAFO (.2); email John O'Brien        B150   1.20    552.00
                  regarding availability for client call (.1); call with committee counsel
                  and FAs, Kander, and co-counsel regarding status update, Conterra
                  plan, party discussions, plan strategy, CRO engagement, and
                  Forbes admin expense motion (.6); review email from John O'Brien
                  regarding budget (.1); emails to/from Rogers Machinery regarding
                  plan voting (.2)
01/02/2025 KMIK   Email client regarding CAFO permit (.1); call with client, Kander, and     B110   0.60    276.00
                  co-counsel regarding status update, CAFO, plan strategy, and
                  meeting with Conterra (.4); email Sandton's counsel regarding term
                  sheet (.1)
01/02/2025 KMIK   Review Committee's statement of support of CRO application (.1);           B160   0.40    184.00
                  emails to/from Bruce Anderson regarding October and November fee
                  apps and interim distribution (.2) and email Lisa Nelson regarding
                  same (.1)
01/02/2025 TROU   Call with committee counsel and FAs, Kander, and co-counsel                B150   0.60    189.00
                  regarding status update, Conterra's plan, , plan strategy, CRO and
                  Forbes motion (.6)
01/02/2025 TROU   Call with client, Kander, and co-counsel regarding status update,          B110   0.40    126.00
                  CAFO, plan strategy, and meeting with Conterra (.4)
01/02/2025 TROU   Review Committee's statement of support of CRO application (.1)            B160   0.10     31.50


01/02/2025 TROU   Attention to emails from David regarding CAFO (.2)                         B110   0.20     63.00


01/03/2025 KMIK   Review Court notice regarding January 9th hearing (.1);                    B110   0.30    138.00
                  correspondence with Bill Millenkamp regarding Conterra meeting
                  (.2)
01/03/2025 KMIK   Emails to/from John O'Brien regarding meeting with business                B150   0.20     92.00
                  representatives (.2)

01/03/2025 KMIK   Email Bruce Anderson regarding wire for fees (.1)                          B160   0.10     46.00


01/03/2025 TROU   Review Court notice regarding January 9th hearing (.1)                     B110   0.10     31.50
         Case 24-40158-NGH             Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                     Desc Main
Millenkamp Cattle, Inc.                                                                                    Client:
                                              Document    Page 22 of 36
2/6/2025                                                                                            Matter:
Page: 2                                                                                                 Statement:




01/06/2025 KMIK     Review email from Sheila Schwager regarding Rabo interest              B140   0.20     92.00
                    calculation for adequate protection payment (.1) and email Lisa
                    Nelson regarding same (.1)
01/06/2025 KMIK     Review emails from John O'Brien regarding waste management             B110   0.60    276.00
                    plans and nutrient management plans (.1) and email David Heida
                    regarding same (.1); call with client, Kander, and co-counsel
                    regarding Conterra plan, Forbes fee app, and Sandton (.4)
01/06/2025 KMIK     Emails to/from Matt Kremer regarding Forbes engagement letter and      B160   0.40    184.00
                    terms and conditions (.3); review Johnson May's December fee app
                    (.1)
01/06/2025 KMIK     Call with Sandton's counsel regarding terms sheet and Forbes fee       B150   0.20     92.00
                    app (.2)
01/06/2025 KMIK     Review and revise Dentons' December invoice for fee app                B160   0.50    230.00


01/06/2025 GMAT     Drafting December fee app (.2); emails with Krystal and Tirzah         B160   0.30     70.50
                    regarding fee app (.1)
01/06/2025 TROU     Draft and finalize Cooper Norman Fee App (1.2)                         B160   1.20    378.00


01/06/2025 TROU     Review emails from Conterra's counsel regarding waste                  B110   0.50    157.50
                    management plans and nutrient management plans (.1) call with
                    client, Kander, and co-counsel regarding Conterra plan negotiations,
                    Forbes fee app issues, and Sandton discussions (.4)
01/07/2025 TROU     Review Johnson May's Second Interim Fee App (.2)                       B160   0.20     63.00


01/07/2025 KMIK     Call with committee counsel and FA, co-counsel, and Kander             B150   0.40    184.00
                    regarding status update, plan, cash flows, and Forbes fee app (.4)
01/07/2025 GMAT     Drafting December fee app (.6); emails with Krystal regarding same     B160   0.70    164.50
                    (.1)

01/07/2025 KMIK     Call with Kander and co-counsel regarding cash flow models and         B110   0.50    230.00
                    plan (.3); emails to/from Lisa Nelson regarding property tax payment
                    (.2)
01/07/2025 TROU     Call with committee counsel and FAs, Kander, and co-counsel            B150   0.40    126.00
                    regarding Forbes and plan status (.4)
01/07/2025 TROU     Call with Kander and co-counsel regarding cash flow models and         B110   0.30     94.50
                    plan (.3)
01/07/2025 TROU     Emails with Lisa Nelson regarding Cassia County Property Tax           B110   0.30     94.50
                    Issue (.3)
01/08/2025 GMAT     Updating claims analysis matrix (.1)                                   B310   0.10     23.50


01/08/2025 KMIK     Review email from John O'Brien regarding rescheduled meeting with      B110   0.70    322.00
                    Conterra (.1) and email client and Kander regarding same (.1); call
                    with client, Kander, and co-counsel regarding status hearing,
                    Conterra plan, and confirmation (.5)
01/08/2025 KMIK     Emails to/from Ron Bingham regarding call to discuss plan (.2)         B150   0.20     92.00


01/08/2025 KMIK     Review and revise Dentons' December fee app (.3)                       B160   0.30    138.00
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                      Desc Main
Millenkamp Cattle, Inc.                                                                                      Client:
                                               Document    Page 23 of 36
2/6/2025                                                                                              Matter:
Page: 3                                                                                                   Statement:




01/08/2025 KMIK     Review and analyze Sandton term sheet for plan                           B320   0.50    230.00


01/08/2025 TROU     Call with client, Kander, and co-counsel regarding status hearing,       B110   0.50    157.50
                    Conterra plan, and confirmation (.5)
01/09/2025 KMIK     Review email from MetLife regarding interest calculations (.1)           B140   0.10     46.00


01/09/2025 KMIK     Review affidavit and order of dismissal for criminal complaint against   B110   1.50    690.00
                    Bill Millenkamp (.2); call with client, Kander, and co-counsel
                    regarding status update, criminal case dismissal, status hearing,
                    and Conterra meeting (.2); appear at status conference and hearing
                    on fee apps and CRO and hearing on adversary proceeding (.9);
                    review notice of hearing held (.1); email counsel for secured parties
                    and committee regarding dismissal of criminal complaint (.1)
01/09/2025 KMIK     Emails to/from Kati Churchill regarding Bruce Anderson's October         B160   0.40    184.00
                    and November fees (.2) and email Bruce Anderson regarding same
                    (.1); email Brett Cahoon regarding proposed order for Dentons'
                    second interim fee app (.1)
01/09/2025 TROU     Review affidavit and order of dismissal for criminal complaint against   B110   1.40    441.00
                    Bill Millenkamp (.2); call with client, Kander, and co-counsel
                    regarding status update, status hearing, Conterra meeting, and
                    criminal case (.2); attend status conference and hearing on CRO, fee
                    apps, and hearing on adversary proceeding (.9); review notice of
                    hearing held (.1)
01/10/2025 KMIK     Review email from John O'Brien regarding Conterra January                B140   0.20     92.00
                    adequate protection interest statements (.1) and email Lisa Nelson
                    regarding same (.1)
01/10/2025 KMIK     Review email from Sheila Schwager regarding plan discussions (.1);       B150   0.20     92.00
                    review email from Sheila Schwager regarding property access (.1)
01/10/2025 KMIK     Emails to/from Sandton's counsel regarding perfection certificate (.2)   B110   0.30    138.00
                    and email client regarding same (.1)
01/10/2025 TROU     Add Rob Marcus to Dentons Direct (.1); email with David Heida            B110   0.20     63.00
                    regarding same (.1)
01/13/2025 KMIK     Call with Rabo counsel and co-counsel regarding Rabo's plan (.5);        B150   1.80    828.00
                    review email from Sheila Schwager regarding CFO (.1); emails
                    to/from Michael Stewart regarding loan documentation (.2); call with
                    Conterra, Conterra's counsel, CRO, Kander, client, and co-counsel
                    regarding plan settlement discussions (1)
01/13/2025 KMIK     Review email from Brett Cahoon regarding proposed order for              B160   0.90    414.00
                    Dentons' second interim fee app (.1); review email from Gabe Olivera
                    regarding Armory's interim fees (.1); review email from Bruce
                    Anderson regarding October and November fees (.1) and email Lisa
                    Nelson regarding same (.1); emails to/from Bruce Anderson
                    regarding first interim fee app (.2) and email Lisa Nelson regarding
                    same (.1); review Committee's objection to Forbes' application for
                    allowance and payment of fees (.2)
01/13/2025 KMIK     Call with client, Kander, CRO, and co-counsel regarding status           B110   1.20    552.00
                    update, Conterra plan, Rabo plan, and strategy (1); call with Matt
                    Christensen regarding plan strategy (.2)
01/13/2025 TROU     Review agenda from Conterra's counsel (.3); Call with Conterra,          B150   1.30    409.50
                    Conterra's counsel, CRO, Kander, client, and co-counsel regarding
                    plan settlement discussions (1)
         Case 24-40158-NGH             Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                     Desc Main
Millenkamp Cattle, Inc.                                                                                     Client:
                                              Document    Page 24 of 36
2/6/2025                                                                                            Matter:
Page: 4                                                                                                 Statement:




01/13/2025 TROU     Call with client, Kander, CRO, and co-counsel regarding status         B110   1.00    315.00
                    update, Rabo, Conterra and strategy (1)
01/13/2025 TROU     Emails with Lisa Nelson regarding amount to be paid to Armory for      B160   0.80    252.00
                    fee app (.2); email committee counsel regarding objection to Forbes
                    fee app (.1); Review Objection to Forbes Fee App (.2); Review
                    Committee Objection to Forbes Fee App (.3)
01/14/2025 KMIK     Emails to/from Sheila Schwager regarding call to discuss plan (.2);    B150   0.80    368.00
                    call with Committee counsel and FAs, Kander, CRO, and co-counsel
                    regarding status update, Conterra plan, Rabo plan, and strategy (.6)
01/14/2025 KMIK     Review debtors' objection to Forbes fees (.1); email Lisa Nelson       B160   0.20     92.00
                    regarding order granting Dentons' second interim fee app (.1)
01/14/2025 KMIK     Review email from Andrew Schoulder regarding Rabo's plan (.1) and      B320   0.20     92.00
                    email client and CRO regarding same (.1)
01/14/2025 TROU     Emails with Lisa Nelson regarding Armory Fee App payment amount        B160   0.20     63.00
                    and reduction of fees (.2)
01/14/2025 TROU     Call with Committee counsel and FAs, Kander, CRO, and co-counsel       B150   0.70    220.50
                    regarding status update, Conterra plan, and Rabo plan,.6); Review
                    email from Andrew Schoulder regarding Rabo's plan (.1)
01/15/2025 KMIK     Call with client, Kander, and co-counsel regarding status update and   B110   0.70    322.00
                    Rabo plan (.4); email Rob Marcus regarding Rabo plan discussions
                    (.1); review emails from Lisa Nelson, Rob Marcus, and co-counsel
                    regarding equipment schedules (.2)
01/15/2025 KMIK     Emails to/from Lisa Nelson regarding Dentons' December invoice         B160   0.30    138.00
                    and fee app (.2); review Givens Pursley's December fee app (.1)
01/15/2025 KMIK     Continue review of Rabo plan (.7); call with Ken Nofziger, Rob         B320   1.40    644.00
                    Marcus, and Matt Christensen regarding Rabo plan (.7)
01/15/2025 TROU     Call with client, Kander, and co-counsel regarding status update and   B110   0.40    126.00
                    Rabo (.4)
01/15/2025 TROU     Review Rabo Plan (.5)                                                  B320   0.50    157.50


01/16/2025 KMIK     Call with client, Kander, CRO, and co-counsel regarding status         B110   0.40    184.00
                    update and Rabo plan (.4)

01/16/2025 KMIK     Review and revise research memo regarding plan issues (.5) and         B320   0.60    276.00
                    email Rob Marcus and client regarding same (.1)
01/16/2025 TROU     Research and Draft Memo regarding plan issues (3.9); Further           B320   5.40   1,701.00
                    research for plan and email to co-counsel regarding same (1.5)
01/16/2025 TROU     Call with client, Kander, CRO, and co-counsel regarding status         B110   0.40    126.00
                    update and Rabo plan (.4)
01/17/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding status         B110   0.40    184.00
                    update and plan strategy (.4)
01/17/2025 KMIK     Call with Met's counsel and co-counsel regarding Rabo's plan and       B150   0.50    230.00
                    Met's proposed plan terms (.5)

01/17/2025 TROU     Plan research and draft memo regarding interest rates (2.6); Pull      B320   3.10    976.50
                    and email Client cases from plan research memos (.5)
01/17/2025 TROU     Call with client, CRO, Kander, and co-counsel regarding status         B110   0.40    126.00
                    update and plan strategy (.4)
         Case 24-40158-NGH             Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                      Desc Main
Millenkamp Cattle, Inc.                                                                                     Client:
                                              Document    Page 25 of 36
2/6/2025                                                                                             Matter:
Page: 5                                                                                                  Statement:




01/17/2025 TROU     Attention to Metlife's proposed plan language (.3)                      B320   0.30     94.50


01/17/2025 TROU     Attention to email from Sheila regarding Rabo Aprraisal requests (.1)   B320   0.10     31.50


01/20/2025 KMIK     Continue review of MetLife's proposed plan terms (.2)                   B320   0.20     92.00


01/20/2025 KMIK     Emails to/from John O'Brien regarding communications with Rob           B150   0.20     92.00
                    Marcus (.2)
01/20/2025 KMIK     Call with client, Kander, CRO, and co-counsel regarding status          B110   0.50    230.00
                    update, MORs, and plan strategy (.5)
01/20/2025 TROU     Call with client, Kander, CRO, and co-counsel regarding status          B110   0.50    157.50
                    update, MORs, and plan strategy (.5)
01/21/2025 KMIK     Review emails from Sheila Schwager regarding property document          B150   1.10    506.00
                    requests (.1); emails to/from Sheila Schwager and co-counsel
                    regarding call to discuss Rabo plan (.2); review email from Andrew
                    Schoulder regarding GUC payment in Rabo plan (.1); review email
                    from Dan Kokini regarding Rabo plan model (.1); call with counsel
                    and FA for committee, CRO, Kander, and co-counsel regarding
                    status update and plan (.6)
01/21/2025 KMIK     Emails to/from David Heida regarding research question related to       B110   0.30    138.00
                    interest rate for impaired general unsecured claims (.2); review
                    email from Kati Churchill regarding MORs (.1)
01/21/2025 KMIK     Review Elsaesser Anderson's December fee app (.1)                       B160   0.10     46.00


01/21/2025 KMIK     Review and revise Cooper Norman's first interim fee app (.5)            B160   0.50    230.00


01/21/2025 TROU     Call with Committee counsel and FAs, Rob M, Ken N, and co-              B150   0.60    189.00
                    counsel regarding status update and plan (.6)
01/21/2025 TROU     Call with client, Ken and Kati, and Rob regarding update and strategy   B110   0.20     63.00
                    and further plan progess (.2)
01/22/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding status          B110   0.80    368.00
                    update and plan strategy (.7); review email from Eric Clark regarding
                    personal injury lawsuit (.1)
01/22/2025 TROU     Call with client, CRO, Kander, and co-counsel regarding status          B110   0.70    220.50
                    update and plan strategy (.7)
01/23/2025 TROU     Call with Miranda Russell (East Valley Development Counsel)             B150   0.40    126.00
                    regarding EVD Arbitration Complaint (.2); Emails with Miranda
                    Russell regarding same (.2)
01/23/2025 KMIK     Call with Rabo counsel and co-counsel regarding Rabo plan (.5)          B150   0.50    230.00


01/23/2025 KMIK     Review email from David Heida regarding Met plan terms (.1)             B320   0.10     46.00


01/23/2025 TROU     Call with Miranda Russell regarding EVD arbitration (.3); Emails with   B190   0.50    157.50
                    Miranda regarding same (.2)
01/23/2025 TROU     Email to Kati Chruchill regarding Cooper Norman fee app (.1);           B160   0.40    126.00
                    Finzalize Cooper Norman Fee App (.3)
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                     Desc Main
Millenkamp Cattle, Inc.                                                                                      Client:
                                               Document    Page 26 of 36
2/6/2025                                                                                             Matter:
Page: 6                                                                                                  Statement:




01/24/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding status          B110   1.20    552.00
                    update, EVD, personal injury lawsuit, and plan strategy (1.2)
01/24/2025 TROU     Call with client, CRO, Kander, and co-counsel regarding status          B110   1.20    378.00
                    update, personal injury lawsuit, EVD, and plan strategy (1.2)
01/26/2025 KMIK     Review email from John O'Brien regarding request for copy of            B110   0.20     92.00
                    arbitration complaint against EVD (.1) and email David Heida
                    regarding same (.1)
01/26/2025 KMIK     Review email from Ron Bingham regarding status update on plan           B150   0.50    230.00
                    discussions (.1); emails to/from Miranda Russell regarding EVD's
                    response to arbitration complaint (.2); emails to/from Mort Branzburg
                    regarding status update on plan (.2)
01/27/2025 KMIK     Review emails from client and co-counsel regarding EVD and              B110   0.20     92.00
                    arbitration complaint (.2)
01/27/2025 KMIK     Review email from Andrew Schoulder regarding Rabo plan (.1) and         B320   0.30    138.00
                    email client regarding same (.1); review email from Rabo's counsel
                    regarding Rabo's disclosure statement exhibits (.1)
01/27/2025 KMIK     Review email from EVD's counsel regarding stipulation for relief from   B150   0.10     46.00
                    stay (.1)
01/27/2025 KMIK     Continue analyzing and drafting amendment to plan (.5)                  B320   0.70    322.00


01/27/2025 TROU     Emails from EVD Counsel regarding lifting stay (.2)                     B190   0.20     63.00


01/27/2025 TROU     Review email from Andrew Schoulder regarding Rabo's Plan (.1);          B320   0.50    157.50
                    Review Rabo redlined Plan (.4)
01/27/2025 TROU     Review and pull cases regarding priming liens (1.0)                     B320   1.00    315.00


01/28/2025 KMIK     Call with CRO and co-counsel regarding plan strategy (1.5)              B320   1.50    690.00


01/28/2025 KMIK     Call with committee counsel and FA, CRO, Kander, and co-counsel         B150   1.60    736.00
                    regarding status update and plan (1.6)
01/28/2025 TROU     Call with committee counsel and FA, CRO, Kander, and co-counsel         B150   1.60    504.00
                    regarding status update and plan (1.6)
01/28/2025 TROU     Call with Kander, client regarding plan (.4); Review updated plan       B320   2.80    882.00
                    models and revise plan (2.4)
01/28/2025 TROU     Review Armory Motion for Interim Distribution and Notice thereto (.2)   B160   0.20     63.00


01/29/2025 KMIK     Emails to/from Ron Bingham regarding plan status update (.2); call      B150   0.60    276.00
                    with Met's counsel and co-counsel regarding plan and settlement
                    discussions (.4)
01/29/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding plan            B110   0.60    276.00
                    strategy (.5); call with CRO regarding recap of call with Met (.1)
01/29/2025 TROU     Drafting Second Amended Plan (4.6); Call with client, CRO, Kander,      B320   5.10   1,606.50
                    and co-counsel regarding plan strategy (.5)
01/29/2025 TROU     Review O'Melveny Motion for Interim Distribution (.2)                   B160   0.20     63.00


01/30/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding status          B110   0.40    184.00
                    update and plan strategy (.4)
           Case 24-40158-NGH                        Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                                                   Desc Main
Millenkamp Cattle, Inc.                                                                                                                                Client:
                                                           Document    Page 27 of 36
2/6/2025                                                                                                                                   Matter:
Page: 7                                                                                                                                        Statement:




01/30/2025 KMIK           Review and revise second amended plan                                                           B320         2.00         920.00


01/30/2025 TROU           Research regarding disputed claim reserves (1.5)                                                B320         1.50         472.50


01/30/2025 TROU           Call with client, CRO, Kander, and co-counsel regarding status                                  B110         0.40         126.00
                          update and plan strategy (.4)

01/31/2025 KMIK           Call with CRO and co-counsel regarding plan strategy (.9); continue                             B320         1.90         874.00
                          reviewing and revising amended plan (1)
01/31/2025 TROU           Review updated models (.5); Drafting Second Amended Plan (4.4);                                 B320         5.80      1,827.00
                          Call with Kati regarding models (.2); Call with Kander and client
                          regarding plan strategy (.3); review Sandton DIP Agreement (.3);
                          email Rob regarding same (.1)
                                                                                                             Sub-total Fees:                  $30,700.50

                                                             Rate Summary
Krystal R. Mikkilineni                                35.50 hours at $460.00/hr                                                       16,330.00
Tirzah R. Roussell                                    44.80 hours at $315.00/hr                                                       14,112.00
Gabby B. Mathias                                        1.10 hours at $235.00/hr                                                           258.50

                         Total hours:                 81.40

Expenses                                                                                             Code            Units           Price        Amount
01/16/2025 Wire Fee                                                                                  E107              1.00            6.25            6.25
01/30/2025 Wire Fee                                                                                  E107              1.00            6.25            6.25
                                                                                                  Sub-total Expenses:                               $12.50




                                                                                                             Total Current Billing:                         $30,713.00



                   Ef f ectiv e March 29, 2021, Dav is Brown Law Firm f ormally combined with Dentons to become Dentons Dav is Brown PC. Visit
         www.dentons.com/BusinessTerms to f ind our Terms of Business, which will apply to our relationship to the extent that it is not inconsistent with the
           material terms and conditions of any existing engagement agreement. Please contact y our lawy er or other prof essional if y ou hav e questions
                                                about the Terms of Business or with any respect of y our representation.

           Current statement due within 30 day s of statement date. Please disregard any prev iously paid amounts. Contact us at 515-246-7812 with any
                                                  questions. Please include the statement number on y our check.

            When y ou prov ide a check as pay ment, y ou authorize us either to use inf ormation f rom y our check to make a one-time electronic f und transf er
         f rom y our account or process the pay ment as a check transaction. When we use inf ormation f rom y our check to make an electronic f und transf er,
            f unds may be withdrawn f rom y our account as soon as the same day we receiv e y our pay ment, and y ou will not receiv e y our check back f rom
                                                                        y our f inancial institution.
        Case 24-40158-NGH             Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                         Desc Main
                                             Document    Page 28 of 36


                                                       In Account With



                                           DENTONS DAVIS BROWN PC
                                             Attorneys and Counselors at Law
                                                215 10th Street, Suite 1300
                                                Des Moines, IA 50309-3993
                                                      (515) 288-2500
                                                Federal I.D. No. XX-XXXXXXX


          Millenkamp Cattle, Inc.                                                                      Statement:
          Bill Millenkamp                                                                                   Date: 2/19/2025
          471 N 300th Rd W
          Jerome, Idaho 83338



Re:               - Ch 11 Bankruptcy

Professional Fees                                                                            Code Hours    Amount
02/01/2025 KMIK   Continue reviewing and revising second amended plan                        B320   3.00   1,380.00


02/01/2025 TROU   Review and Revise Second Amended Plan (1.8); Emails from CRO               B320   2.20    693.00
                  regarding plan status (.2); Emails with co-counsel regarding same
                  (.2)
02/02/2025 KMIK   Review email from EVD counsel regarding arbitration complaint and          B190   0.10      46.00
                  lift stay (.1)
02/02/2025 KMIK   Call with CRO, Kander, and co-counsel regarding plan revisions             B320   2.00    920.00
                  (1.5); continue reviewing and revising plan (.5)
02/02/2025 TROU   Call with Kander and co-counsel regarding Plan (2.5)                       B320   2.50    787.50


02/02/2025 TROU   Revising Second Amended Plan (3.8)                                         B320   3.80   1,197.00


02/02/2025 TROU   Review email from EVD counsel regarding relief from stay (.1);             B190   0.20      63.00
                  emails from co-counsel and CRO regarding same (.1)
02/03/2025 KMIK   Call with client, Kander, CRO, and co-counsel regarding plan               B320   1.00    460.00
                  strategy (.7); continue reviewing and revising plan (.3)
02/03/2025 KMIK   Review email from Ron Bingham regarding status hearing (.1)                B150   0.10      46.00


02/03/2025 TROU   Call with client, Kander, CRO, and co-counsel regarding plan               B320   8.90   2,803.50
                  strategy (.7); Review and Revise Plan (5.4); Call with Kati and Lisa
                  regarding Plan Issues (.7); Calls with Kander and CRO regarding
                  Plan (1.6); emails to Kati regarding Metlife Promissory Note
                  Maturities (.2); emails with Matt regarding western states claim and
                  treatment (.2); Email Kati regarding Rabo's Amended POCs (.1)
02/03/2025 TROU   Emails with CRO and client regarding status hearing information            B100   0.20      63.00
                  and dial in information (.2)
02/03/2025 TROU   Review status report from co-counsel (.2); Review Motion to Appear         B110   0.30      94.50
                  Pro Hac Vice filed by Norton Rose for Rabo (.1)
02/04/2025 KMIK   Appear at status conference (.5); review stipulation for mediation (.1);   B110   0.70    322.00
                  review notice of hearing held (.1)
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                        Desc Main
Millenkamp Cattle, Inc.                                                                                         Client:
                                               Document    Page 29 of 36
2/19/2025                                                                                               Matter:
Page: 2                                                                                                     Statement:




02/04/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding plan (.4);         B320   2.30   1,058.00
                    call with Committee counsel and FA, CRO, Kander, and co-counsel
                    regarding plan (.4); continue reviewing and revising plan (.5); call
                    with David Heida, Rob Marcus, and Matt Christensen regarding
                    revisions to plan (1)
02/04/2025 TROU     Appear at status conference (.5); review stipulation for mediation (.1);   B110   0.70    220.50
                    review notice of hearing held (.1)
02/04/2025 TROU     Call with client, CRO, Kander, and co-counsel regarding plan status        B320   1.30    409.50
                    (.4); call with Committee counsel and FAs, CRO, Kander, and co-
                    counsel regarding plan (.4); Review Rabo's Plan (.5)
02/04/2025 KMIK     Review O'Melveny's December fee app (.1); review Armory's                  B160   0.20     92.00
                    December fee app (.1)
02/04/2025 TROU     Drafting Disclosure Statement (4.7); Email to Matt and Krystal             B320   5.60   1,764.00
                    regarding same (.1); Review emails from CRO regarding changes to
                    Plan and DS (.2); Further revise DS and Plan regarding those
                    changes (.5); email from Matt C regarding stip for settlement (.1)
02/04/2025 TROU     Reviewing Rabo's Plan and disclosure statement (.4)                        B320   0.40    126.00


02/05/2025 KMIK     Continue reviewing and revising plan and disclosure statement              B320   0.50    230.00


02/05/2025 GMAT     Revising Disclosure Statement and Chapter 11 Plan (4)                      B320   4.00    940.00


02/05/2025 TROU     Review edits to Plan and incorporate into disclosure statement (1.1);      B320   4.70   1,480.50
                    Emails with Matt C regarding Disclosure Statement revisions (.2);
                    Revise Disclosure Statement (.8); Revise Plan (.3); Email to client,
                    Kander and CRO regarding drafts of Plan and Disclosure Statement
                    (.1); Email Kati C regarding budget exhibit status (.1); Email CRO
                    redline of Plan (.1); Emails with Gabby regarding TOC for Plan and
                    Disclosure Statement (.2); Final review and revisions to TOC to Plan
                    and Disclosure Statement (.9); Calls with Matt C regarding plan and
                    disclosure statement (.2); Email clients, Kander, and CRO final
                    copies of plan, disclosure statement and exhibits (.2); Finalize
                    signature pages and prepare exhibits for filing and file Plan and
                    Disclosure Statement (.5); Email clients, Kander, and CRO filed
                    copies of Plan and Disclosure Statement (.1)
02/06/2025 KMIK     Call with client, Kander, CRO, and co-counsel regarding status             B110   0.70    322.00
                    update and strategy (.4); review emails from Mike Hayes and Rob
                    Marcus regarding terms sheet (.2); review certificate of service for
                    disclosure statement notice (.1)
02/06/2025 KMIK     Review and revise notice of hearing on disclosure statement (.2)           B320   0.20     92.00


02/06/2025 KMIK     Review and revise Dentons' January invoice (.5)                            B160   0.50    230.00


02/06/2025 KMIK     Email counsel for secured lenders and committee regarding word             B150   0.90    414.00
                    versions of plan and disclosure statement (.2); emails to/from
                    Andrew Schoulder regarding plan (.2); call with Andrew Schoulder
                    regarding plan issues (.5)
02/06/2025 KMIK     Draft waiver of technical default under DIP loan agreement (.2) and        B230   0.40    184.00
                    emails to/from Kati Churchill regarding same (.2)

02/06/2025 GMAT     Drafting January fee app (.2)                                              B160   0.20     47.00
         Case 24-40158-NGH              Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                     Desc Main
Millenkamp Cattle, Inc.                                                                                      Client:
                                               Document    Page 30 of 36
2/19/2025                                                                                            Matter:
Page: 3                                                                                                  Statement:




02/06/2025 TROU     Call with client, Kander, CRO, and co-counsel regarding status          B110   0.50    157.50
                    update, plan filing, and strategy moving forward (.4); review emails
                    from Mike Hayes and CRO regarding terms sheet (.1)
02/06/2025 TROU     Draft Notice of Hearing for Disclosure Statement hearing (.4); review   B320   0.50    157.50
                    finalized notice and email Gabby to file (.1)
02/07/2025 KMIK     Continue reviewing and revising waiver of technical default (.1);       B230   0.50    230.00
                    emails to/from Kati regarding waiver language (.2); emails to/from
                    Sandton's counsel regarding waiver (.2)
02/07/2025 KMIK     Emails to/from Gabriel Olivera regarding O'Melveny's August through     B160   1.00    460.00
                    November fee apps and payment (.2) and email Lisa Nelson
                    regarding same (.1); emails to/from Bruce Anderson regarding
                    December fee app payment (.2) and email Lisa Nelson regarding
                    same (.1); review and revise Dentons' January fee app and notice
                    (.2); review Armory's second interim fee app (.1); review O'Melveny's
                    second interim fee app (.1)
02/07/2025 KMIK     Email client, CRO, and Kander regarding recap of call with Rabo's       B110   0.30    138.00
                    counsel regarding plan (.3)
02/07/2025 TROU     Review emails from CRO and co-counsel regarding discussions             B110   0.50    157.50
                    with Rabo (.2); review emails from Kati and co-counsel regarding
                    technical waiver (.2); review email from Rich Bernard regarding
                    waiver (.1)
02/07/2025 TROU     Emails from O'Melveny regarding fee apps (.1); Review email from        B160   0.20     63.00
                    CRO regarding same (.1)
02/10/2025 KMIK     Call with client, CRO, Kander, and co-counsel regarding status          B110   1.30    598.00
                    update, EVD, and plan strategy (1.3)
02/10/2025 TROU     Attention to emails regarding communication with Rabo from FTI and      B110   0.20     63.00
                    Kander (.1); review order vacating disclosure statement hearing (.1)
02/11/2025 KMIK     Review order vacating disclosure statement and setting settlement       B320   0.10     46.00
                    conference (.1)
02/11/2025 KMIK     Call with client, Kander, CRO, and co-counsel regarding status          B110   0.50    230.00
                    update and strategy (.5)

02/11/2025 KMIK     Call with committee counsel and FAs, Kander, CRO, and co-counsel        B150   1.00    460.00
                    regarding status update, plan, and mediation (1)
02/11/2025 KMIK     Review emails from Lisa Nelson and Kati Churchill regarding             B160   0.40    184.00
                    payment of O'Melveny's fees (.2); emails to/from Kati Churchill
                    regarding Kander September fee app (.2)
02/11/2025 KMIK     Research regarding DIP loan and plan (.9); call with Bill Millenkamp    B320   1.90    874.00
                    regarding plan (1)
02/12/2025 KMIK     Call with client, Kander, CRO, and co-counsel regarding status          B110   0.60    276.00
                    update and plan strategy (.5); review court's notice of objection
                    deadline for motion to approve compromise (.1)
02/12/2025 KMIK     Research and analysis regarding lender liability claims and             B320   3.50   1,610.00
                    treatment of DIP loan in plan (3.5)

02/12/2025 KMIK     Review email from Andrew Schoulder regarding Rabo's financial           B150   0.10     46.00
                    advisor (.1)
02/12/2025 TROU     Review status request filed by court (.2); review emails from co-       B110   0.50    157.50
                    counsel and other parties regarding settlement conference call (.2);
                    attention to emails regarding FTI and Rabo's new FA (.1)
           Case 24-40158-NGH                        Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55                                                   Desc Main
Millenkamp Cattle, Inc.                                                                                                                                Client:
                                                           Document    Page 31 of 36
2/19/2025                                                                                                                                  Matter:
Page: 4                                                                                                                                        Statement:




02/13/2025 KMIK           Continue researching and analyzing plan issues and lender liability                             B320         1.20         552.00
                          claims
02/13/2025 KMIK           Review email from counsel for committee regarding plan terms (.1)                               B150         0.10           46.00


02/13/2025 KMIK           Call and emails with Kati Churchill regarding Cooper Norman fees                                B160         0.20           92.00
                          (.2)

02/13/2025 KMIK           Call with Rob Marcus regarding status update and strategy for plan                              B110         0.50         230.00
                          (.5)
02/13/2025 KMIK           Research regarding plan and interest rate for impaired unsecured                                B320         3.00      1,380.00
                          claims (3)

02/13/2025 TROU           Review emails from David and co-counsel regarding fee objection                                 B110         0.20           63.00
                          research (.2)
02/14/2025 KMIK           Call with counsel for MetLife and co-counsel regarding status update                            B150         0.40         184.00
                          and plan (.4)
02/14/2025 TROU           Review EVD's Motion for Relief from Stay (.2)                                                   B190         0.20           63.00


02/14/2025 TROU           Attention to emails from various parties regarding settlement                                   B110         0.20           63.00
                          conference call and mediation (.2)
                                                                                                             Sub-total Fees:                  $25,066.00

                                                             Rate Summary
Krystal R. Mikkilineni                                29.20 hours at $460.00/hr                                                       13,432.00
Tirzah R. Roussell                                    33.80 hours at $315.00/hr                                                       10,647.00
Gabby B. Mathias                                        4.20 hours at $235.00/hr                                                           987.00
                         Total hours:                 67.20

Expenses                                                                                             Code            Units           Price        Amount
02/10/2025 Third Party Mailing/Printing fees                                                         B320              1.00      8,902.55        8,902.55

02/19/2025 Third Party Printing and Mailing                                                          A111              1.00      2,123.00        2,123.00
Fees for Final Fee App - Estimated                                                                Sub-total Expenses:                         $11,025.55




                                                                                                             Total Current Billing:                         $36,091.55



                   Ef f ectiv e March 29, 2021, Dav is Brown Law Firm f ormally combined with Dentons to become Dentons Dav is Brown PC. Visit
         www.dentons.com/BusinessTerms to f ind our Terms of Business, which will apply to our relationship to the extent that it is not inconsistent with the
           material terms and conditions of any existing engagement agreement. Please contact y our lawy er or other prof essional if y ou hav e questions
                                                about the Terms of Business or with any respect of y our representation.

           Current statement due within 30 day s of statement date. Please disregard any prev iously paid amounts. Contact us at 515-246-7812 with any
                                                  questions. Please include the statement number on y our check.

            When y ou prov ide a check as pay ment, y ou authorize us either to use inf ormation f rom y our check to make a one-time electronic f und transf er
         f rom y our account or process the pay ment as a check transaction. When we use inf ormation f rom y our check to make an electronic f und transf er,
            f unds may be withdrawn f rom y our account as soon as the same day we receiv e y our pay ment, and y ou will not receiv e y our check back f rom
                                                                        y our f inancial institution.
Case 24-40158-NGH   Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55   Desc Main
                           Document    Page 32 of 36




                        EXHIBIT C
Case 24-40158-NGH     Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55              Desc Main
                             Document    Page 33 of 36



                                  NARRATIVE SHEET

                  Information Requested                       Information Given
  I.    BACKGROUND:
        The background information of the
        bankruptcy case, to the best of
        Applicant’s knowledge is as follows:
  A.    Date the bankruptcy petition was filed.    April 2, 2024
  B.    Date of the “Order Authorizing             May 24, 2024
        Employment of Counsel”:
  C.    Date services commenced.                   March 19, 2024
  D.    Rate Applicant charges its non-            Krystal Mikkilineni - $460.00 per hour
        bankruptcy clients for similar services.   Tirzah Roussell - $315.00 per hour
        2025 Rates                                 Krystal Mikkilineni - $460.00 per hour
                                                   Tirzah Roussell – $315.00 per hour
  E.    Application is final or interim.           Interim and Final
  F.    Time period of the services or expenses    Interim: December 1, 2024 through
        covered by the Application.                February 15, 2025
                                                   Final: April 2, 2024 through February
                                                   15, 2025

  II.   CASE STATUS:
        To the best of the Applicant’s
        knowledge, the financial condition and
        status of the case is as follows:
  A.    The amount of cash on hand or on           No funds are being held in trust with the
        deposit in the estate.                     Applicant.
  B.    Amount and nature of accrued unpaid,       To the best of the Applicant’s
        administrative expenses.                   knowledge, the only other unpaid
                                                   administrative expenses are those of the
                                                   estate’s other professionals. To date, the
                                                   estate has retained Johnson May as co-
                                                   counsel, Kander as financial advisor, Rob
                                                   Marcus as Chief Restructuring Officer,
                                                   Forbes as investment banker, Cooper
                                                   Norman as tax accountant, Davis
                                                   Livestock as livestock appraiser, Schuil
                                                   Ag Real Estate as brokers opinion expert,
                                                   Gale W. Harding & Associates as
                                                   equipment and machinery appraiser,
                                                   Summit Ag Appraisal as real estate
                                                   appraiser, and Givens Pursely as special
                                                   counsel. The Unsecured Creditors
                                                   Committee has also incurred
                                                   administrative expenses for its
                                                   professionals. The Applicant believes
Case 24-40158-NGH      Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55               Desc Main
                              Document    Page 34 of 36



                                                    the Debtors are current on all
                                                    administrative expenses requested by
                                                    those professionals.
  C.     The amount of unencumbered funds in        The estate currently holds in excess of
         the estate.                                $1,000,000.00 in funds (which is a
                                                    constantly changing and updating
                                                    number). While those funds are
                                                    technically encumbered by the various
                                                    lienholders in this case, they are available
                                                    to pay the professional fees requested
                                                    pursuant to the Cash Collateral Budget.

  III.   PROJECT SUMMARY:
         Description of each professional project
         or task for which compensation and
         reimbursement is sought:
  A.     Description of projects.                   See Exhibit B attached hereto for a
                                                    detailed description of what has been
                                                    performed on behalf of the estate by the
                                                    applicant and the fees and costs incurred
                                                    in these projects. The project categories
                                                    included: Case Administration, Asset
                                                    Disposition, Relief from Stay/Adequate
                                                    Protection Proceedings, Meetings of and
                                                    Communications with Creditors,
                                                    Fee/Employment Applications,
                                                    Assumption/Rejection of Leases and
                                                    Contracts, Other Contested Matters,
                                                    Non-Working Travel, Financing/Cash
                                                    Collections, Tax Issues, Claims
                                                    Administration and Objections, and Plan
                                                    and Disclosure Statement.
  B.     Necessity of projects.
                                                    Case Administration was necessary in
                                                    order to discuss various items with the
                                                    client, co-counsel, financial advisor and
                                                    other parties, as well as prepare and file
                                                    required reports (IRR, MOR) and
                                                    respond to continued emergency/interim
                                                    motions, and related orders.

                                                    Asset Disposition was necessary in order
                                                    to maintain and collect documents
                                                    regarding the potential sale of certain of
                                                    the Debtors’ assets and to prepare and
                                                    file sale motions.
Case 24-40158-NGH   Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55        Desc Main
                           Document    Page 35 of 36




                                           Relief from Stay/Adequate Protection
                                           Proceedings was necessary to respond to
                                           opposing counsel and prepare responses
                                           to motions for relief from stay and
                                           motions for adequate protection.

                                           Meetings of and Communications with
                                           Creditors was necessary to prepare for
                                           and attend conferences with creditors
                                           regarding matters related to the case,
                                           status updates, and negotiations, and
                                           correspond with creditors and counsel for
                                           creditors via phone call and/or email.

                                           Fee/Employment Applications was
                                           necessary in order to draft and prepare
                                           applications to employ and draft monthly
                                           and interim fee applications.

                                           Assumption/Rejection of Leases and
                                           Contracts was necessary in order to
                                           review and respond to multiple creditor
                                           emails regarding the Debtors’ intentions,
                                           and to correspond with co-counsel,
                                           financial advisor, and debtors regarding
                                           the same.

                                           Other Contested Matters was necessary
                                           in order to correspond with the Debtors,
                                           co-counsel, financial advisor, and
                                           creditors regarding multiple contested
                                           matters, including use of cash collateral,
                                           DIP approval, 503(b)(9) motion, critical
                                           vendor motion, and sale motion.

                                           Non-Working Travel was travel billed
                                           at ½ rate for travel to/from hearings.

                                           Financing/Cash Collections was
                                           necessary in order to correspond with
                                           multiple parties regarding the cash
                                           motions and draft and prepare extensive
                                           relevant interim and final motions,
                                           notices, and orders. Much of the initial
                                           stages of this case revolved around
Case 24-40158-NGH     Doc 933 Filed 02/28/25 Entered 02/28/25 13:11:55             Desc Main
                             Document    Page 36 of 36



                                                  obtaining necessary approvals/consensus
                                                  for using cash collateral to maintain
                                                  operations.

                                                  Claims Administration and Objections
                                                  was necessary in order to review claims
                                                  filed and evaluate potential objections to
                                                  those claims.

                                                  Plan and Disclosure Statement was
                                                  necessary in order to correspond with co-
                                                  counsel, Debtors, the CRO, and the
                                                  financial advisor regarding the drafting
                                                  of and strategy for the Chapter 11 Plan.

  C.    Benefit of projects to the estate.        The projects have allowed the Debtors to
                                                  prepare and file required reports,
                                                  maintain documents, attend required
                                                  meetings, draft various applications and
                                                  motions, analyze and draft the Plan, and
                                                  otherwise keep operations moving
                                                  forward.
  D.    Status of project.                        Interim.
  E.    Identification of each person providing   See the attached Exhibit A.
        services on the projects.
  F.    Number of hours spent, the amount of      See the attached Exhibit A.
        compensation requested for each
        professional and para-professional.
  G.    Itemized time and services entries.       See the attached Exhibit B.
